 

ne
MA
MU

Mii

MUNA

 

 

COSMEDERM

 
 

 

 

AQ 450 Judgment in a Civil Case E E

 

mn
a

United States District Court | -. s

SOUTHERN DISTRICT OF CALIFORNIS

 

 

 

so wreeer or teams td

 

 

 

 

 

DAVID O. THUESON
V.

COSMEDERM TECHNOLOGIES, INC.

 

CASE NUMBER:  97cv1902H(CGA)

[| Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard
and a decision has been rendered,

IT 1S ORDERED AND ADJUDGED that Court granting Plaintiff's motion to remand, denying request for fees and

 

 

 

costs, Case remanded to state court. Each side to bear its own costs in this matter. coc ccccccccccssscscsssesescsssccsccecsesceesessens
December 17, 1997 Roberta Westdal
Date Clerk
CA Gunier
(By) Deputy Clerk

ENTERED ON December 17, 1997

 
